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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                           .IACKSO     I,N, DIVISION



 In re                                          )

 FRANKLIN SOUTHERN                              ) Case No.: 3:23-bk-00938
 MANUFACTURING,LLC
                                                ) Chapter 11
                        Debtor




                   MOTION OF EAST GROUP PROPERTIES, L.P.
                   F'OR RELIEF FROM   AI]TOMATIC STAY


         Creditor, EastGroup Properties, L.P. ("Landlord"), moves the Court pursuant to 11

U.S.C. $ 362(d), Bankruptcy Rules 4001 and 9014 and Local Rule 4001-1, for relief from

the automatic stay to terminate a lease of non-residential real property and to commence

eviction proceedings against the debtor, Franklin Southern Manufacturing, LLC

("Debtor"), based on post-petition lease defaults, and in support states:

         L      The Court has jurisdiction of this matter pursuant to 28 U.S.C. $$ 1334 &

157. This is a core proceeding pursuant to 28 U.S.C. $ 157(bX2XG).

         2.     Venue is proper in this Court pursuant to 28 U.S.C. $$ 1408 & 1409.

         3.     On April 27,2023 (the "Petition Date"), Debtor filed a voluntary petition

for protection under Chapter 11 of the United States Bankruptcy Code'

         4.     Landlord owns the commercial real property located at 8500 Baycenter

Road, Suite 2, Jacksonville, Florida 32256 (the "Property"), more particularly described

AS


              SEC 56 TWN 35 RANGE 27 E FRANCIS RICHARD GRANT
              Parcel ID 152612-1000
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         5.    On May 27 ,2}22,Landlord executed a Lease Agreement (the "Lease") with

Debtor to lease a portion of the Property, identified as Suite 2, consisting of approximately

75,664 squafe feet (the "Premises"). A copy of the Lease is attached as Exhibit A.

         6.    Pursuant to the terms of the Lease, Debtor is required to make monthly rent

payments of $71,730 .63 to Landlord on the first day of each month. The payment includes

base rent of$8.15 per usable square foot and an operating expense of$1.75 per square foot

as Debtor's pro rata share of the calendar year operating expenses, which covers common

expenses such as property maintenance and repairs, insurance premiums, and property

taxes. Sales tax for the State of Florida, Duval County is also included in the payment and

is currently set at7Yo.

         7.     Debtor has defaulted under the terms of the Lease by failing to pay rent for

the month of May, 2023, and each month thereafter. The last rent payment Landlord

received from Debtor was on April 19,2023.

         8.     In total, Debtor owes Landlord $493.13 in unpaid pre-petition rent and

$282,749.31 in unpaid post-petition rent which is calculated as follows:

         Additional Rent Due for April2023                               $493.1 3
         Rent Due forMay 2023                                         $51,388.47
         Additional Rent for May 2023                                 $ 12,713.55
         Sales Tax on May 2023 Rent                                      s4473.49
         Rent Due for June2023                                        $53,469.23
         Additional Rent for June2023                                 $12,893.89
         Sales Tax on June 2023 Rent                                    $4,619. I 5
         Rent Due for July 2023                                       $53,469.23
         Additional Rent for July 2023                                8r3J72.52
         Sales Tax on July 2023 Rent                                   $4,619.1 5
         Rent Due for August 2023                                     $53,469.23
         Additional Rent for August 2023                              $13,642.25
         Sales Tax on August 2023 Rent                                 $4.619. 1 s



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                                      TOTAL                               $2$2A44

          9.           Debtor remains in possession of the Premises and continues to use the

Premises for its benefit and to the detriment of the Landlord'

              10.      Pursuant to $ 365(dX3) of the Code, a debtor in possession is required to

'otimely perform all the obligations of the debtor . . . arising from and after the order for

relief under any unexpired lease of non-residential real property until such lease is assumed

or rejected . . , " Debtor's failure to pay post-petition rent as required by $ 356(d)(3)

therefore constitutes cause for terminating the automatic stay.

              I   1.   Further, Debtor's most recently filed monthly operating report [Docket No.

68], shows that Debtor has insufficient income to cure the arearage and ongoing

obligations owing to Landlord.

              12.      By this motion, Landlord requests relief from the automatic stay in order to

allow it to terminate the Lease and take such further action as is necessary to regain

possession of the Property.

              13.      Landlord also requests, pursuant to Local Rule 4001-i(c)(3), that this Court

waive the 14-day stay period provided by Fed' R' Bankr. P. a001(aX3).

              WHEREFORE, Landlord moves this Court for the entry of an order (i) granting

relief from the automatic stay imposed by $ 362(a) of the Banlauptcy Code to permit the

Landlord to terminate the Lease and take such further action as is necessary to obtain

possession of the Property, (ii) waiving the 14-day stay period provided by Rule a001(aX3)

so that the Landlord can move expeditiously to recover possession of the Property, (iii)

permitting Landlord to recover reasonable attorneys' fees and costs incurred in connection

with this motion, and (iv) granting such further relief as is appropriate.


                                                         a
[793803/l ]
                                                        -J-
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                                       THAMES IMARKEY

                                                 /s/ Richard R. Thames
                                       By
                                                   Richard R. Thames

                                       Florida Bar No. 0718459
                                       50 N. Laura Street, Suite 1600
                                       Jacksonville, Florida 32202
                                       (904) 358-4ooo
                                       (904) 358-4001 Facsimile
                                       rct@tharnesmarkey.law

                                       Attorneys for EastGroup Properties, L.P.




[793803/l ]                                -4-
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                                      Certificate of Service


             I hereby certifu that on July 31,2023, this notice and the attached pleading was

transmitted to the Clerk of the Court for uploading to the Case Management/Electronic

Case Files ("CM/ECF") System, which will send a notice of electronic filing to all creditors

and parties in interest who have consented to receiving electronic notices in this case. A

copy of the foregoing was also furnished by U.S. Mail, postage prepaid on July 31,2023

to Franklin Southern Manufacturing, LLC, 8500 Baycenter Road, Suite 2, Jacksonville,

Florida 32256 and to the Rule 1007(d) list of creditors and parties in interest listed on the

mailing matrix attached hereto.


                                                         /s/ Richard R. Thames

                                                                Attorney




[793803/1]                                         -5-
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Atlanta, CA 30328-3450                             Lunberton, NC 28358-3114                              50 North l,aura Street, Suite 1500
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                     i;tl        Neitfr th* q'aivcr h-r l-rirtclltrt! ul-an]. a$reemertl bleol.'h. cn.ndition. drlault. pmr:ision- rerpurrrrrclri. (}r lcnll




      Lnntllonl ta insist uForl the lre.rformancc tt1 'lcrrillt irr rtriut ilccordflnce u:idr alrc tcrms ol'llns l-cltsc

               ihi       -dcccptallcc fiy hntllord oI' R*n[ or other :rllorlits dlrq. irr n'hplq rrr in piul- follon'ing a hrench or d-:faull rr ill
      llot bc (t&\rnrcd Ls hc il *airer of :ttr crjsting or prcr:cditig breuch br, Ter:ant of arrl itgn:ctncnl. curnliuorl pro\rision.
      requirenrettt. $r' tenll nf tlti,s l-c;lsc. rr:girrdlrrss al-I-.nntllord's knnu,ledge ol'slrch prccsdirre brcai;lr lt thc time of accep{nnce ot



      rKcrpted.

                     tc}          No pin"nrertt h3 l'ernnt r-rr n:eciFt br Llnelk:nl of a lesser alnoilrt than ilrr-t lhll rutmurlt r}l- irm' irtl,tirllnrenl or




      Fir-l rnurt rt['Rr":nt r)r pursu{: Irtb othrr ri:medies alailahle         tn tr sndlold.

      .11.           i)l-gU+Sf. Prior t* the Conuncutcrncot D:ilr- atl irotic*s r+qnired under this Leflse to be gir.cn Lo N elLrrtl sltrl! he givrn lo it




      F''flsritjlc pmpaid. orb1 trlccopt. tacsinule tmrunrissiorr *rt*'pcr"nrul dt:tir''cry, e:rb1,ccmmerciirl courier ot o'l'emiglu dellr.er



      co lrlrllcr r cr aX con ller. r v ller t deXll r' r.*d o r rc lirl .^d.




      'I'lrr-r
                 clnusc slru.tl be srll'-npcrruivc- lrrrcl m.r fur{hcr- instnrnrent oJsrrbardimtjon shdl bc reqrdrcd.

      l.i            Fislrrrcs lntl i\ltsnrticrns. Tcmff slull rrot. \rillK)rrl Lantll$nl's prior rnineu collscnt,;rltilch ilrtr lixturcs in qr to the




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      ;rrrl. irn tl;trrtirgc r:r.rrr-*;ud br rrrslirll;rtiun (rr rum.ol:tl thereof is lepail*d ltr                     sol{j uosL,

                    'fcrrrrrt
                                rir;rll rrrhrnrt r!nrning Ltr Liurrllord for cpg:r*val ftit nrlr rrrodilictrtipns or illlprore$tell{s to thc Prcrturqs, Turirtt



      nrodificirlion r: r impnrr-ernents-

      ?{i.          Rrlleli\qn r.r[' Prurni"ws Tenirnt slnll. on tlrc e-rprrarirrn ol' l]ris l.casu. delirer up dre Prenuses tn as gcod rlrdur itrul


       Lnrutlord.

       li           bxarrrrrrrrtirn rrrxl hshibilr F.gfSrcnrises. Lrudlnrd ol ill rhrll arrttmnzsd agcnt slurii lnle the rigltt to *ttrtr tle Prcrttit(rs



       n:irsturrbh.: tilncs litr ![rc prrrylr.tsc uf'*xhibititll: t]re sanm 1o p:35p{3[1,t'* lullilrltii,

       Itt"       Evcnlr rrl'D*lirrrll ,'\ril. of the folloFing ererr{s or occurT,i-rnter- shall r:onstitntc fl tueacli of this Lease bl"trettntlt iutd
       shd l cuilstitu Lr: lrrnl " Ertt rt ol' DL'lltul t'" herctt rrder:

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      dur

                thl Tlrr: tjrihrrc of Tenalt to obslrrvc or pcrl'brutr ;rny qllh$r q1o\srlrlr!1. itsrssment. csndition or prcr'istctt ol tiu:
       Leitse $'it[il th,* tirnr: p*riad in rvhich such col-eluurt- agrl:*rllcrll. c{)ndiljon or prur:ision is reqttirctl 1o Lre lxdonued b1' tltc
       t6rms ol this Lsilse- ar. i[ nn tirue pericd is specitied frrr pcrfonutcr-'. u'ithitt lwcnt]' (2{.}} da1's afler rtritten uolice of +uch
       lailure to Temnt.

                    (c)           [l -l'enlnt lrecomes irr-colveut or n.drr$ts in rtritin-q ilr inrbiliry' Ia pa] ils del]fs il.s lhcl' ttnnlre- oI rllskes i1,l

       rrr:rjur pirrt ol'its llrr:;rcrtr .

                    iill          The rppointmelrr of t trus**c ol'[r rllcsr]cr to lnhf possr;ssiorr ol'ull cr sulrst;tntiitlly all crf Tenlnt's ptnlxfli. nr


       lrLt;lt hnrr:rtl- L:\rlruti{) tl ot sci..-uru'.


                 4:cl Thc in-rrirrrtion crt bunkruptcl . reorgo:ilaatiolt. arritngcnt:,n1. in:ietr,en*1- or litlttid;rtiotr ptucecdltlgs- t)r i]il-l
       irthcr proci-.,r.rlrngs lor lclirl- ur)rie r ;rrn, hanknrptcl- or insolvencl- lntl rrr r:rt-\' rtrlhgr simiiar litrv fqr the relief af dttrtnr.r. b,r *r

       of such pnrccedings.

                    if,           I'crrirllr slurtl rcp*rtcdll <tefault in ttrre tinrch' p!] ilI{}nl $L R$ilt, oF ;rn-\' other clnr$es requiled {s bc pflid, t}r
       slrrlll rclreatecll-r defniilr ir kccpilrg. r)t)!icn inli or p;rfnnning m1' olhtr coycnitrl!. ilgrui:Incnt. conditinn or pravisiolt nl' tltis
       Lcast', n'hetlrer or nst 'lerurnt shnlt tirrrcll' curu lnJ' such pat'nre nt or other dtfault. Ftrr lhc ptrrlxlscs of this Subsectiot Lltr:

       sluli p+r be requircct {o Lrrc\:ide I'erull arl-v crlrt pcrir.rds trpon lhe ocatllTence $f ft repeale{l dcfRrrlt.


       lolicc gn'err lrcrcuuclcr nrirr, Lrc gile u sinrult,ettr-onsl-t rr it lt or irtcorptnttcd illto anl such sl"anltot] n$tice.


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      re mcdiss:



                 {it}        Rc-F.ntn Withurlt TSrnUlAli-o.J. To the estent pcrruiltcd hr :rpplicrttr[c lan. l.rnrdltrr$ rrrlJ're-enter t]re




      ultt"t'auons ilnd the expensris of reletting end second ra dte trn1'nrcitl o!'llentitl hcntilr pnrtitlcql t0 bc pitid br Teniuri. and ani'




      r-*liliilnilrg itlicr tllc :tplrlicatirin li.orrr tirrrE lo liril* trl'' th,:r prac.;*tl-s sIiH]' such relettillg.

                  (b)        $ggg!g11ig4 C)n the occurretrce cf anr" s'u[It l:r.ent ol] lJc!"autrl. Lartdlord *ti* dc(laru t.hs cttlJrc *tnt]tuil $l-


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      hquidatett danruee: but rhall nrcrell, L-onstinrte pnlmerf in advance of tltt Rr:nt for tlte renrautder of the

                  tc1         lgll,l lglp. Tr: (he e,\.tenr permitted b1' applicrbte lorr'. Lnndlord nlfl]' erler upon the Prenises. ttithout being

      L:$fi lp! rsrlce \r rth'fe rrult's 0b ligati otx tlnder this l-ease,


                {*l     Oilrcr Errf(rn:trrrcnt. L:,rnd}onJ rrr;r-r Dlrlorus lht provilirrns tll' this l"c;rsc tmtl rnrt.r cnibruc irrul prolecl the
      r"rglls af Lanr[ord hereunder br a s.uit or suits in equiry 0r flt la\i. for spcufir"" pcrfotlnatlcc otl an1 covr:tranr i]r nE,rcctnctlt
      cousirnd hereil. or 1-crr the srdomertrtnt of ail' Gtlier lcg-al or squirable rsrucdr. includitrg rr:l-'slcr\ ol;rll lturuic* duc *r l(t
      beccnre dur franr Tcnant trncl+r itnl- nf the protisions of this teose.

                   {trJ 'ltr-1rrln4rtfllt- Upr:n drc ocf,rrrcllcc of i}n Llcllt t:l Dqlitull bc5ortrl irnl irpplicrhlt il(}tics Ix,rie:d. !.-andlord
      sliirll Lre entitlrd lo terninaic lbis !.i:ose bl pror-idrng n,r'ittetr $otice tlreffof lo lctL'ttlt.

                  {l)         Iti-:uuclics (.urrrrrlatir,r:. Ttru rights. prililegc-r. {l{ctions iurd refllediqs of Landlo,rdutrElertttis Lci:sc sltall hc


      Larrdlord's riglus tnn:under to indr:nurifcltirlrr l-mnl Tcnnnl ior Tcnant"s in-sumnce carriers) for any clailn or liabilitr ar!"[rlci]
      a$rrinst ur imlro-setl rrpon L.anrllord. rvhether betor* or after the tertnhutisrt of this Lrrlrst, nhich is dirccllr or irxlirectll' based

       li-rru.going. L:rntthrrul shrrll har.r.' ir {tu[t' to rni(ipnlc darnrr;1cs ils rcl lorth in subsectiotr ti] belatr.



                   tg,i       Auometl'ltr:cs rnrrl t]r:llcction (llrarses, ln tln c!'cnt o[itnv legrl ilction or proceeditg is brougltt br citltcr

      srrch :,rc[rou or proceedlng- rnclrding coun cr)sr^s ald rc;rsnrrahle ltt(]rlc\'s' lccs rtl crr befor€ the trLlll ]etel and itt ant, ap]:ell;ttc' ol'
      ttr: rtk rrrpt c.r' trlroceedi rig.



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              lh 1     lirncr**nucs lrr addition to the rights ;urd rentedies sr't lnrtil trt llli.r $ccliorr S{. iI an Htent qf Deihult nccrrni
      end such fuulure, in Lafidlsrd's relsonfble apittiirrl cratl's all cru$rgcru\ situution or iflecrs dre l'alue nl intcglitt tr['thc




      rupan rrhiuh an1' surh expurlsc shall lnve bsen inculrrd ntat hc nclcl:tl" irt lhc option of Landlotd- to iun' R*tlt tttcrt drrt rrr
      lhr:rcallcr hll i rrg d ur hi;r';u rrdq r,

                   iii            luitrsilli0rr rrl Dlrnirues. Liurdlord sgre.is til use cr)ltlfiufilinllt rcascrurbl,; ql'lbrls te mitigate danrages




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      iijirf{ilr{nt i$ rniti$illc.

      .ilJ         Consurrction LieJS. The intrlrest of Landlnrcl iu tlrr: Frtrrrisr:.r shall nut be sub.iect in nnr' t'sv to r-nl ltens- u**ludlng
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      look ta Tcnant to ieculc Filvnrent of nur" bill for rlsrk done or t:tslerial frrrrtishcd $r for;rnt eithcr ptrrposc dnrring the Ternt.
      Ttn forugoirq prolisir:ns rrrr rntrds uith express rcference io Sectton Tll.l0- liloridn Stntutcs {l9t-ij. lrrrlrr,illislirrnlirrg lhu


      Scrlion ll.1.lJ. l;tcridt Sultutcr- {'lU9-5). rvilhin lrn tttt) dit-vs rri-ter notice thereof to'['e*ant. Fnfilrer. lenant ftgttes to




      lt.lcr the lirsl rlal ol' Ihc Tcnn or nn the filing b1' Lgndlord of an affidar'rt tltru dle J'crrtt hns f.\[]trtd. {}r lhc Lctr$q has bl'cn
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       tcnuinltl.c(i (-rr Lh..n        crrlul's right tr: t)(.))-$cti$ion o[ lhs Pnernises has been ternrimeed.

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      rlufirult arrd,'i-rr sucl) $rtrcr irlfilnrrrltiorr rcg,;tnlirrg tlris L,eilse its may he reasonebll a;tprrtpriatc illrn liruutl-

      'i
           ?                                       'I'hrou$rorrL Lhc Tcnrr of tlris Lc:r-sc. Tqnnnt shirll prevent thr- presence- u$c- gcrteritlirlt. rclcitst,
                   ttfZgdgf_\'tngq4.

      tlor trcur,ides t,lur:h are part rrf tlu orrlilrrrrl cou$c rr['Ti.iil{tnt's business and are conductsd tn stricr crllttpliitncr:r u'itlr all
      applicable federirl. slate. $nd locfll larr,s. rul*s- rugrrlalittlts. and qrrdsru. Fcr purposes ,lf tltjs prnrislon- rhc lcrrll "Hltztttdolts
      h.laterials" shall rnean ancl refer [Lr i]n1 u';]slcr^ rnllcri*ls, or o{her slbstances ,rf anT kind or chfftsctcr ,ltitl rtrc or bqqc}Tne



      rip- corrainnrent- nenlr.-rrill. slarage- or t€stotali$rl uttk qltr'rcirt rclcr:rqd to as "R-entedial \\brk"; rerprued bt. or urtrrrcd h1 .
      L;urdlord or anr" orher pelson or pfltn in n rcrrsrrnirhlc h,rrlr*t'lhrt such Ren:edial Wolk is requiretl [r1' atr.t npplic::trlc liclcetl.
      stittri er locll Io*'. nrle. re.sulailrl* 0r' r)rdi-rr- 0r hl anr golsrrrnrental aJt*ucf- aurhoriq-. rrr poliucal suttdltisit'lrr lritlitrg
                                                                                        l;l
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      ftrrnr rln Pr*mises hJ,irnl'of Lhe Tenant Pnrtrcs. In tlrc tr.fll irnr' $uqh Rcnrcrtial lVork is sa rcquircd undrr aut lpplicahlc




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      1t.       ifieilriorulh]alg$Sl

      ,i+.      Lordlord's-Lign. ln ;rddrtion to urd cuunl;ltir,e of Latdlord'r slattrl{'l!} licn. 'lbrutnt hcrehl g,iltrtl$ l{r l-;trttl}urEl lt




      ;:nr- third-pirt1' limurcing o['thc Ter,tutt-s prope]q.

      15,        FnLcilrorrallr- iltrultedJ.




      pl^lns i'lnd spcitications. i.andlarri ;U;rtes lo provide Ter:ant rriilr a tenatr( intpt'ouetttetn allnn,sttce in dre ut'tslllll of up t$
      5l-1.i-5-t+ &t;r, ar S | .tJ5 Fcr :tllrtrq fnot of th* Frsmises. {the ",'\]lo$irleg,'} lo be used onJl' ton,ards the Tennrrt lntprovenrenls and"

      of tlre t\llowlncc xlurll hr: the rn!(: rusponsibilill' q[ T*nirnt. All iJontfirctur: enrplol'ed' b1' Tennnt shall be strbjecrt to t:he prior



      slns ol'rccript of request for pr1-nrent fronr Tenarrt accampiuried b5 such iilvsices and lien *ailers. Any 1rcruon r:f tlrc
      A.llslva1rgs rentif ning urnlserl b-v Tenant *,ithin lrrelve {.t?t monlhs ol" Coilnrencentent Date shfll b€ deerecl *ilived $' Terun.



      rr hrch irn er,ent uf defanlt bl Tenmr sluil lnle ocf,urruTl nrxl ls cotnrnuirq.




      shall be deented a rrdrier o.f suclr rrpuor] nlld surh olttiolr * ill thu'n bc ol' lo ftrrther farce or effect. Liuldlord shall deliter rvrillclt

      u,luch sets forrh rhr Renen'el Rare alter ihc Liurdl*rcl's rciltrxutbh: dclcrrnirr'ntitrn of the t?dr nnt*et valtte uf the Fremises. fis silt
      [trn} rn tlus pnragrnph. Landlcrd and I'erlult shfill rrcgofi:lle irt g00cl lhith to ittenpt lo ttttch agle€me$t ott irE n elx'rr,al Ralc. ll'
                                                            '[crurnt
      Laldtord apcl ltrmnr agree on the Relrc"*r-rl R:ltc.           slurll pnunptly c]i€ctttr and delir-er a* crttendment of the Lcasc ltr l-trntt
                                                  'I'erurnl tn c\.idcru:c tlrc cscr"*i$c al-this Rcnelvnl Option and the elfect thereof.
      ard snbstance saristhctorl' to Landlord ord


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      lrlal Bslirte Lrmker so sclscted slmll Lre licerxed rn lJtc -iurisdttlrrtrt irr rlhir:h thc Fr:emires is loci*ed fls a {ei-il csl$tc l}nlkcr




      lrrokel's tleternrimtiou rrf thrr feit' ulfksl r'nLrc ol thc l]rr:lrrisus. Srrqh lrr$li*r rihall not bt empollerd [o sElcft ol' clnli altl
      ldditiunll or tilnhcr prcposcri riltes. ll]e prop'rsed Renerval Rarr: cht]scn by thu tlunl brokcr shiil] be binding ,on both Landl*td
      and Tepnnl ils ll1g Rencrill Ratr for the Frr-'nfses cturir]s ttrtc ltcnctriti Pcriocl. [t'the t]rinl brnkerbelieres thiit e [pe$. *dl'ice rl*uld
      rrnteriill.t\r iusist hinr,8er. he/slre nuv rclnlrl snr or nloru rlutlil'i+rl I,rni'.rns ta provide such expen mhice. Tlte panres slnll slmr.^
       eqtal!yinfhecosrlofthethinllrrnlqeriurclnfm.le"\pcrL\rctsinc.dt]]'.tuchtrnr]ii:r,'\nl,feesorcostssftlrehtolsers{lecteddirectll
       lrri Lendlonl or Ten:tnt. borr'*r'er. shall tn brrrttr: ltr thc pnrtl scli:ctirtg stmh brolcgr. The t]iinl L'roker slull rcnder [tis'']rer

       r','ithir the ien (i{l} dul pcriacl. thr proposed Rentrritl Rate sutttnitlcri h1 lhc cllrtr pirrll' shitll trs sclected Ths Renerr':ll Rats
       selectrlrl b5 the third bn:kcr sludl be tmsl and hurdlrg upon brlth Lntuitnrql nrrd Tctr,rrrl arul slnll bc |irs ftenr,lval ll;t{e for the
       Renervll Period.


       of no furt]rreffcqt

       Itt        fo1istr-rllilrtcou-q.


                  tal    All apprar,als requtrcr:l olilrrcl txL*ctrn l-andtord rrnr! Ternrt! rrldcr thc provisiorts of this Agreerrnnt shall lts
       in \\frdng and slull rrol lre urlrensolnbil u:itlrlwld r.rr dcltl,r:d unlt$s olllfnt,isr: crprctsll' prtrt'itlctl.

                  ib)          lt is r.rrxlcrrtrnocl nnd agre*d tlrirt ln the e\€m anl ptuvisron oll dtrs l,case sh:rll hc adjuctgccf" dc,;n-'td irl<lur nrlcd

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                  tr)          Tlis l.i;1sc 1nrl, all proriisions. csr,e uiurts nnd cotdjti*rm tlttruol'slltll bc hirrdirrg ttptttr ilrrcl irtttrc l$ lhe lreneilrt of


       ripht" urterest or equig in crr to rhis Lerse. dte tcruls ol'Lhis Leit.rc *r lltc Prcnliscs.

                  (d)          !,:trxll$nt sh;rll hatc the right. al ar4'tiute lr.tlh-rut halrifuh gil i'elulnl lr.l rflitk*;, aL tr,arrdlorcl-s o\rn e\pel15e.




       ils rs lriasggalrlr *:ccssnr irl Llrr-r ttircun*ranc*i. ansl shatl not do an1' act tr'hu:lt pcruun[nll.\- rcdtlscs ltrc size of the Plemises

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       public health itnit. prtrstlant [o Secuoll +t]'l-(ti6t$). Iltlrida Smlrucs.



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                  itl          This t.rlsr: antl thc ixidcndu irttardre(t hsreto cotrstilrttt Lbt elxltt;'lgrcrrlttcrtl lvclrrrjcn tlm pirrties ttnd

      irrrd sigrrrrci ht hoth L,andlord nrtd'lTturtt


                  {lql         l'lri:i l-c,lt.(r: rhnll ir+ gtvcnrcd lr1,' tnd constnreit ur ni'csr'ct;utc* t,r'i{lt iltr' !;nlr. oll tltu Suttc ot' Fk:rirjit.

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